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                                                                                                        E-Filed Document




                                 STATE OF NEW HAMPSHIRE

GRAFTON, SS                                                                  SUPERIOR COURT


                                   215-2022-CV-00129
                 Case No. ___________________________________________

                                      James V. Haxby, Ph.D.

                                       Plaintiff-Respondent,

                                                 -v-

                                  Trustees of Dartmouth College

                                       Defendant-Petitioner.



   PETITION FOR REMOVAL TO SUPERIOR COURT AND REQUEST FOR JURY
                  TRIAL PURSUANT TO RSA 354-A:21-a


       Defendant-Petitioner Trustees of Dartmouth College (“Dartmouth” or “Defendant”), by

and through the undersigned counsel, hereby removes the Human Rights Commission Charge of

Discrimination filed against it by Plaintiff-Respondent James V. Haxby, Ph.D. (“Plaintiff”) to

this Court for pretrial proceedings and a jury trial pursuant to RSA 354-A:21-a.

       1.      Plaintiff filed a Charge of Discrimination against Dartmouth with the New

Hampshire Commission for Human Rights (“Commission”) on or about November 28, 2018,

together with a First Supplement to his Charge of Discrimination (dated November 5, 2019).

Plaintiff alleged, inter alia, that Dartmouth’s decision to terminate his endowed professorship

amounted to retaliation on the basis of his association with his wife and his support for her

gender discrimination complaints against Dartmouth, in violation of RSA 354-A and Title VII of

the Civil Rights Act of 1964. A copy of the Charge of Discrimination together with its




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supplement thereto, is attached as Exhibit A. Dartmouth properly and timely raised

numerous defenses below, and denies all claims of unlawful discrimination and

retaliation made in those documents.

       2.      The Investigating Commission issued a finding of “probable cause” on or about

May 18, 2022. This preliminary finding is not a determination that discrimination or retaliation

occurred; rather, it represents a determination by the Investigating Commissioner that a

reasonable basis existed to support bringing additional proceedings in the nature of a public

hearing before the full Human Rights Commission. See RSA 354-A:21-a, I; BLACK’S LAW DICT.

1454 (11th ed. 2019).

       3.      No public hearing has been commenced.

       4.      Dartmouth hereby exercises its right to have pretrial proceedings and a jury trial

in this Court in accordance with RSA 354:21-a, I, and has provided or will provide appropriate

statutory notice to the Commission of the filing of this matter pursuant to RSA 354-a:21, II.

       5.      A copy of this Petition has been provided to Plaintiff through his counsel and to

the Commission.

       WHEREFORE, Dartmouth requests that this Honorable Court:

               A.       Schedule this matter for pretrial proceedings and a jury trial in accordance
                        with RSA 354-A:21-a; and

               B.       Grant it such other and further relief as this Court deems just and
                        equitable




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                                            Respectfully submitted,

                                             THE TRUSTEES OF DARTMOUTH COLLEGE

                                             By its attorneys,

                                             DEVINE, MILLIMET & BRANCH,
                                             PROFESSIONAL ASSOCIATION


Date: May 20, 2022                    By:    /s/ Pierre A. Chabot ________
                                             Pierre A. Chabot, Esquire (Bar # 17606)
                                             111 Amherst Street
                                             Manchester, NH 03101
                                             (603) 669-1000
                                             pchabot@devinemillimet.com



                                CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of this Petition for Removal to Superior Court
and Request for Jury Trial Pursuant to RSA 354-A:21-a upon Attorneys Lauren Simon Irwin and
Alan Kabat, counsel for Plaintiff in this matter, by sending or causing the same to be sent by
email to each of them.



                                               By: /s/ Pierre A. Chabot ______
                                                   Pierre A. Chabot




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                 Exhibit A
     Charge of Discrimination and Supplement to Charge

      James V. Haxby v. Trustees of Dartmouth College


                  No. ________________
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EEOC Form 5 (11/09)


                      Charge of Discrimination                                                           Charge Presented To:               Agency(ies) Charge No(s):
            This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                             FEPA
                    Statement and other information before completing this form.                              bd
                                                                                                              X    EEOC

                                                New Hampshire Commission for Human Rights                                                                    and EEOC
                                                                         Sfa/e or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                     Home Phone (Incl. Area Code)            Date of Birth


Dr. James V. Haxby                                                                                                   (609)462-5568                     May 20,1951
street Address                                                                     City. State and ZIP Code

3 North Balch Street, Hanover, New Hampshire 03755-1502

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. {If more than two, list under PARTICULARS below.)
Name                                                                                                               No. Employees, Members       Phone No.(Include Area Code)

Dartmouth College                                                                                                         3,000                   (603)646-3411
street Address                                                                     City. State and ZIP Code

Dartmouth College, Office of Human Resources,7 Lebanon Street, Suite 203,
Hanover, New Hampshire 03755
Name                                                                                                               No. Employees, Members       Phone No.(Include Area Code)



Street Address                                                                     City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                       DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                   Earliest                    Latest


  □       RACE
                      □I COLOR □ sex □
                      I                                                 R ELIGION
                                                                                    □           NATIONAL ORIGIN                 06/04/18                    10/23/19

                 RETALIATION □ AGE □ DISABILITY
                 R ETALIATION
                                                                                   □      GENETIC INFORMATION

                          OTHER (Specify)      RSA 354-A                                                                           S          CONTINUING ACTION


THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
   Please see Attachment A.




                                                                                                NOTARY - When necessary for State and Lo                    rements
I want this charge filed with both the EEOC and the State or local Agency, if any.
will advise the agencies if I change my address or phone number and I will
cooperate fully with them In the processing of my charge in accordance with their
 procedures.                                                                                    i swear or affrm that I have read the above charge and that it is true to
 I declare under penalty of perjury that the above is true and correct.                         the best of my knowledge, information and belief.
                                                                                                SIGNAIUSE-Qf COMPLAINANT



                                                                                                 UBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                                {month, day. year)
 /l/-^ 57 20/1
                                                 Charging Party Siga^ture
                                                                                                      "S 2-0/^
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                   Charge of Discrimination                                                       Charge Presented To:            Agency(ies) Charge No(s):
          This form is affected by the Privacy Act of 1974, See enclosed Privacy Act                  1 1 FERA
                Statement and other information before completing this form.
                                                                                                      1 1 EEOC
                                             New Hampshire Commission for Human Rights                                                              and EEOC
                                                                      state or local Agency, if any
THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):




                                                                                                                    uju/i/
                                                                                             NOTARY - When necessary for Stefe and LocaiA       Requirements
 I want this charge filed with both the EEOC and the Stale or local Agency, if any. I
 will advise the agencies if i change my address or phone number and I will
 cooperate fully with them in the processing of my charge in accordance with their
 procedures.                                                                                I swear or affirm that I have read the above charge and that it is true to
 I declare under penalty of perjury that the above is true and correct,                     the best of my knowledge, Information and belief.
                                                                                             SIGNATyRrOFCOMPLAINANT



                                                                                             sT5bscribed and sworn to before me this date
                                                                                             {month, day, year)
         T.
                                                        7^
                                                Charging Party/Signature
            Date
                                                                                            /VcAj y;2c;H
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                 SUPPLEMENT TO ATTACHMENT A - Jim Haxby,Ph.D.
Paragraphs 15 through 21 are hereby added to Attachment A as follows;

       15.      On October 20,2019, Dr. Peter Tse, a tenured faculty member in Dartmouth's
Department of Psychological and Brain Sciences("PBS"), who also served on the tenure review
committee for Dr. Ida Gobbini(Dr. Haxby's wife), sent an email to the entire junior faculty in
PBS that specifically blamed Drs. Haxby and Gobbini for the recent suicide of Dr. David Bucci,
former PBS Chair.

       16.      Dr. Bucci committed suicide during the week of October 15, 2019, after a life
long battle with severe depression. Drs. Haxby and Gobbini previously named Dr. Bucci in their
NHCHR/EEOC charges as having made sexist remarks about Dr. Gobbini in the workplace, and
for having failed to take action when Dr. Gobbini complained about gender discrimination in the
workplace. Dr. Bucci was further named in a recent lawsuit initiated by PBS graduate students —
Rapuano v. Trustees ofDartmouth College -for having failed to take action when the students
complained to him (in his capacity as then-Director of Graduate Studies and then-PBS Chair)
about sexual harassment and discrimination by several faculty members in PBS.
       17.      Following the news of Dr. Bucci's suicide, Dr. Tse emailed the entire PBS junior
faculty, attaching Dr. Haxby's NHCHR/EEOC charge, Dr. Gobbini's NHCHR/EEOC charge,
and the purportedly "confidential" report of Dartmouth's internal investigation of Dr. Gobbini's
allegations of gender discrimination and retaliation. Dr. Tse's email stated the following:
       Because of Dave's [Bucci's] suicide, and the importance of having an open, even
       if painful discussion about how to move forward as a dept., I feel it important that
       the junior faculty now know about accusations made against Dave that he took
       very very hard, and that made him extremely angry. False accusations from the
       plaintiffs [in Rapuano], followed by these second false accusations, were
       contributing factors to his mental breakdown, in my view.

        18.     By "these second false accusations," Dr. Tse was clearly referring to Dr. Haxby's
and Dr. Gobbini's legal claims involving Dr. Bucci, given the attachments to his email. These
statements are defamatory, and constitute further retaliation against Dr. Gobbini for bringing
legal claims against Dartmouth based on its discriminatory and retaliatory denial of her tenure,
against Dr. Haxby for opposing this discrimination and retaliation, and against both Drs. Haxby
and Gobbini for filing administrative charges against Dartmouth with the NCHRC and the
EEOC.




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       19.      Dr. Tse's retaliatory statements have seriously damaged Dr. Haxby's reputation
within Dartmouth, and, in particular, among the junior faculty in PBS, who are likely to believe
Dr. Tse's accusation that Drs. Haxby and Gobbini are responsible for Dr. Bucci's suicide. Dr.
Haxby serves as the Director of the Center for Cognitive Neuroscience and the Director of the
Dartmouth Brain Imaging Center("DBIC"). The junior faculty in PBS are dependent on the
DBIC for their research using functional brain imaging. Dr. Tse's email to the junior faculty
undermines Dr. Haxby's critical working relationship with the junior faculty.
       20.      On October 21, 2019, counsel for Drs. Haxby and Gobbini wrote to Dartmouth
and demanded that Dartmouth immediately repudiate Dr. Tse's statements, and further retract
them (or order that Dr. Tse retract them), with notification to the entire faculty of PBS, and
anyone else to whom Dr. Tse or others may have made or republished these statements.
       21.      In response, by letter dated October 23, 2019, Dartmouth's counsel refused to
repudiate or retract the retaliatory and defamatory statements. Instead, Dartmouth's counsel
wrongfully accused Drs. Haxby and Gobbini of using Dr. Bucci's suicide to "enhance" their
"litigation posture" against Dartmouth. To the contrary, it is Dr. Tse - and now, Dartmouth —
who used the news of Dr. Bucci's tragic passing as an opportunity to defame Drs. Haxby and
Gobbini, and attack their litigation positions against Dartmouth, in retaliation for their engaging
in protected activity against the College.




1 declare, under penalty of perjury, this ^ day of ©etober, 2019, that the foregoing is true
and accurate.




                                                      Jim Haxby, Ph.D.




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